          Case 18-40887-JMM                        Doc 32        Filed 11/02/18 Entered 11/02/18 16:51:37                                   Desc Main
                                                                Document     Page 1 of 18


    Fill in this information to identify your case:


    Debtor 1              Michael                                     Kelley
                          First Name            Middle Name           Last Name

    Debtor 2              Cami                                        Kelley
    (Spouse, if filing)   First   Name          Middle Name           Last Name



    United States Bankruptcy Court for the: District of Idaho

    Case number                                                                                                                         El Check if this is an
                          (If known)
                                                                                                                                           amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


                   Summarize Your Assets


                                                                                                                                    Your assets
                                                                                                                                    Value of what you own
    . Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                        $     218,000.00
       ta. Copy line 55, Total real estate, from Schedule A/B


       lb. Copy line 62, Total personal property, from Schedule NB                                                                              75,668.70

       1c. Copy line 63, Total of all property on Schedule A/B                                                                          $     293,668.70


Part 2:            Summarize Your Liabilities



                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe

2 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                               276,221.00
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


3     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                        $       15,146.96
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                       150,636.58
                                                                                                                                        $



                                                                                                           Your total liabilities              442,004 54



                   Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                  4,972.56
       Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                  3,577.67
       Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                    page 1 of 2
        Case 18-40887-JMM                      Doc 32             Filed 11/02/18 Entered 11/02/18 16:51:37                                   Desc Main
                                                                 Document     Page 2 of 18

   Debtor 1      Michael                                              Kelley                          Case number   (rf known)
                  First Name     Middle Name         Last Name




   Part 4:      Answer These Questions for Administrative and Statistical Records


   6    Are you filing for bankruptcy under Chapters 7, 11, or 13?

        ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        0 Yes


   7. What kind of debt do you have?

        lid Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        1:1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.



   8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $     9,900.48




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                             Total claim


         From Part 4 on Schedule E/F, copy the following:



        9a. Domestic support obligations (Copy line 6a.)                                                     $                        0.00


        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                   15,146.96

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  $                        0.00


        9d. Student loans. (Copy line 6f.)                                                                   $                   89,508.00

        9e. Obligations arising out of a separation agreement or divorce that you did not report as                                   0.00
                                                                                                             $
            priority claims. (Copy line 6g.)


        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                          0.00


        9g. Total. Add lines 9a through 9f.                                                                  $              104,654.96




Official Form 106Sum       Summary of Your Assets and Liabilities and Certain Statistical Information                                            page 2 of 2
 Case 18-40887-JMM                                    Doc 32             Filed 11/02/18 Entered 11/02/18 16:51:37                                              Desc Main
                                                                        Document     Page 3 of 18




Fill in this information to identify your case:


 Debtor 1             Michael                                                       Kelley
                      f^
                       a Name                        lidde Name                     List Nome

 Dettor 2         Cami                                                              Kelley
 iSpo use, snare) Fe Name                            sedge POW.                     taseHarn•

 United Stales Bankruptcy Cout for the                            District of

 Case number
       Mowry                                                                                                                                               Cit Check if this is an
                                                                                                                                                               amended filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
       ❑       No, Check this box and submit this form to the court with your other schedules, You have nothing else to report on this form.
       5.0 Yes. Fill in all of the information below.


                   List All Secured Claims
                                                                                                                              Column A              Column 8                Column C
2 List all secured claims. If a creditor has more than one secured claim, list the creditor separately                        Amount of c laim      Value of collateral Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                      Do not dectact the    that supports this  portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.                               value of coilaterei   claim

2.1)
       Simplot Credit Union                                   Describe the property that secures the claim:                   $ 9255.00             $   8000.00         $ 0.00
       Creditor's Na,,,.
        1800 Garrett Way                                      2006 Dodge Ram
       Nunber              Street

                                                              As of the date you file, the claim Is: Check all trial apply,
                                                              ❑     Cortingent
       Pocatello, ID 83201                                    ❑     Unhqueciated
       C ity                         State ZIP Cade
                                                              ❑     Disputed
  Who owes the debt? Cneck one                                Nature of lien. Check all that apply
  ❑        Debtor 1 only                                      Lia An agreement you made (such as mortgage or sectred
  ❑        Detlor 2 only                                          car loan)
  ❑        Dettor 1 and Debtor 2 only                         ❑     Statutory lien (such as tax len mechanic's lien)
  ❑        At least one of the derAors and another            ❑     Judgmert hen from a lawsut
                                                              ❑     Cater (inctuding a right to offset)
  ❑        Check If this claim relates to a
           community debt
  Date debt was incur red                                     Last 4 digits of account number

2.21 Simplot           Credit Union                           Describe the property that secures the claim:                   $ 2466.00             $ 3000.00           s   534.00
       Credtoes Name

        1800 Garrett Way                                     2008 Ford Fusion
       N um:Art            Street

                                                              As of the date you file, the claim Is: Check all that apph
                                                              ❑     C-ortingent
       Pocatello, ID 83201                                    ❑     Unliquidated
       City                          state LP Coot            ❑     Disputed
  Who owes the debt? Check one                                Nature of lien. Check all that apply.
  ❑        Detsor 1 only                                      11 An agreemert you made (such as mortgage or seared
  LI       Debtor 2 only                                         can loan)
  •        Detior 1 and Debtor 2 only                         ❑ Statuory hen (such as tax lien, MeCtenIC' S lien)
  ❑        At least one of the debtors and another            ❑     Judgmert ten from a lawsut
                                                              ❑     Other (including a right to offset)
  ❑        Check If this claim relates to a
           community debt
  Date debt was Incurred                                      Last 4 digits of account          number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                   11721.00

Official Form 106D                                    Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of
     Case 18-40887-JMM                                Doc 32             Filed 11/02/18 Entered 11/02/18 16:51:37                                                Desc Main
                                                                        Document     Page 4 of 18



      Fill in this information to identify your case:


      Debtor 1            Michael                                                    Kelley
                          Vint Name                   MM. Name                       t.4.1 NY.


      Dector 2            Cami                                                       Kelley
      (Spo Lae, efiirg)   FKst Nam                    Wilde Nam*                     LW Nome


      United States Bankruptcy Coitt for the                       District of
                                                                                                                                                           Z1 Check if this is an
      Case number
       (It known)
                                                                                                                                                              amended filing


     Official Form 106E/F
     Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12115

     Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
     List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
     A/B: Property (Official Form 106A/13) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060). Do not include any
     creditors with partially secured claims that are listed in Schedule 0: Creditors Who Have Claims Secured by Property. If more space is
     needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
     any additional pages, write your name and case number (if known).

     Part 1:           List All of Your PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims against you?
         5d No. Go to Part 2,
         ❑ Yes.
     2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and honor iority amounts, list that claim here and show both priority and
         nonpriortty amounts. As much as possible, list the Claims in alphabetical order according to the creditor's name. If you have more than two priority
•        unsecured claims, fill out the Continuation Page of Part 1, If more than one creditor holds a particular claim. list the other creditors in Part 3.
•,       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                             otel claim   Priority        Nonpriortty
                                                                                                                                                          amount          amount


                                                                           Last 4 digits of account number                                                           $
           Prong CtiloSt3r, Name
                                                                           When was the debt incurred?
           Number            Sleet

                                                                           As of the date you file, the claim Is: Check all that apply

           City                              State     ZIP Cod
                                                                           ❑     Contingent
                                                                           ❑     Untiotadated
           Who Incurred the debt? Check one
                                                                           ❑     Disputed
           ❑ Dector 1 only
           ❑ Debtor 2 only                                                 Type of PRIORITY unsecured claim:
           ❑ Debtor 1 and Debtor 2 only
                                                                           ❑     Domestic support obligations
           ❑      At least one of the debtors and another
                                                                           ❑     Taxes and certain other debts you owe the governrrert
           ❑ Check if this claim Is for a community debt
                                                                           ❑     Claims for death or personal iryury while you were
           Is the claim subject to offset?                                       intoxicated

           ❑      No                                                       55 Other Specify
           ❑ Yes
22
                                                                           Last 4 digits of account number                               $                            $
           Priem/Cm:Wes Name
                                                                           When was the debt incurred?
           Number            target
                                                                           As of the date you file, the claim is: Check all that apply
                                                                           ❑     Cortingent
           Clly                              state     ZIP Code            ❑     Uniiquidated

           Who incurred the debt? Check one                                ❑     Disputed
           ❑ Debtor 1 only
                                                                           Type of PRIORITY unsecured claim:
           ❑ Dector 2 orvy
                                                                           ❑     Domestic support obligations
           ❑ Decor 1 and Debtor 2 only
                                                                           ❑ Taxes and certain other debts you owe the gayernmeri
           ❑      At least ore of the debtors and another
                                                                           ❑     Clams for death or personal Ow while you were
           ❑ Check if this claim is for a community debt                         intoxicated
           Is the claim subject to offset?                                 Da Other. Specify
           ❑ No
           ❑      Yes


     Official Form 1 06E/F                                    Schedule Elf: Creditors Who Have Unsecured Claims                                                  page 1 of
 Case 18-40887-JMM                                     Doc 32           Filed 11/02/18 Entered 11/02/18 16:51:37                                                 Desc Main
                                                                       Document     Page 5 of 18


Debtor 1
                   Michael                                  Kelley                                            Case rorrber
                   t all Nun,          hIttitt*Nwril       tact Name


 Part 2:          List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     21 Yes

 4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. Ifs creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
     claims NI out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim

      World Finance                                                                    Last 4 digits of account number         7282 80840                            1500.00
                                                                                                                                                                 $
      Nonenekty Creditors fame                                                                                                 1/2018
                                                                                       When was the debt incurred?
      775 Yellowstone
      NUT1001            Street
      Pocatello, ID 83201
      Ctty                                              SSW            Z1P Cods        As of the date you file, the claim Is: Check ay Sat apply

                                                                                       ❑      Contingent
      Who incurred the debt? Checkone,                                                 ❑      UnIquiciated
      ❑      Debtor 1 only                                                             ❑      Disputed
      ❑      Debtor 2 oily
      ❑ Debtor 1 and Debtor 2 only                                                     Type of NONPRIORITY unsecured claim:
      ❑      At least one of the debtors and another
                                                                                       ❑      Student loans
                                                                                       ❑      Obligations arising out of a separator agreement or dvorce
      ❑ Check If this claim is for a community debt
                                                                                              that you did not report as priority claims
      Is the claim subject to offset?                                                  ❑      Debts to pension or profitishanng plans, and other similar debts
      ❑      No                                                                        Ca Other, Specify      Personal loan
      ❑      Yes


                                                                                       Last 4 digits of account number          1568                             s 5598.00
      Net Credit
      Nonononty Creditors Name                                                         When was the debt Incurred?              4/2018
      175 W. Jackson Blvd Ste 1000
      Number             Street
                                                                                       As of the date you file, the Claim Is: Check all fiat apply
      Chicago, IL 60604
      City                                               State          Z1P Cod*
                                                                                       ❑      Corengent

      Who incurred the debt? Check one                                                  ❑     Uniquidated
                                                                                        ❑     Disputed
      ❑      Dettor 1 only
      ❑      Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
      ❑      Debtor 1 and Debtor 2 only
      !El    At least one of the debtors and another                                   ❑      Student loans
                                                                                       ❑      Obligations arising out of a separation agreemert or dvorce
      ❑ Check if this claim is for a community debt                                           that you did net report as priority Cairns
      Is the claim subject to offset?                                                   ❑     Debts to pension or poll-sharing plans, and other similar debts

      ❑      No                                                                         3     Other Specify   Personal loan
      ❑      Yes


       Rise Credit                                                                      Last 4 digits of account number         3850                                  2579.00
      NONXItItny Cf114$110r$    rem.                                                                                            7/2018
                                                                                       When was the debt Incurred?
       P. O. Box 101808
      Sumter             Street
       Fort Worth, TX 76185
                                                                                       As of the date you file, the claim is: Check an Tot appty .
      City                                               SUS            TIP Code
                                                                                        ❑     Contingent
      Who Incurred the debt? Check one
                                                                                        ❑     Unliouidated
      ❑      Debtor 1 only
                                                                                        ❑     Disputed
      ❑      Debtor 2 only
       •     Debtor 1 and Debtor 2 one/
                                                                                       Type of NONPRIORITY unsecured claim:
       ❑     At least one of the debtors and another
                                                                                        ❑     Student loans
       ❑ Check If this claim Is for a community debt                                    •     COligations arising out of a separation agreement or dvorce
                                                                                              that you Lid not report as priority dams
      Is the C1111111 subject to offset?
                                                                                        ❑     Debts to pension or prort•shanng piens and other simrlar debts
       ❑     No
                                                                                        Cil   Other Specify   Personal loan
       ❑     Yes




Official Form 106EJF                                             Schedule Elf: Creditors Who Have Unsecured Claims                                                        page of
 Case 18-40887-JMM                               Doc 32               Filed 11/02/18 Entered 11/02/18 16:51:37                                                Desc Main
                                                                     Document     Page 6 of 18


Debtor 1
                   Michael                                Kelley                                            Case number (e/trov..)
                    PolaNarm      Weak N•nar              Lam Name




ria               Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                Total claim



                                                                                       Last 4 digits of account number991 0                                        $ 461.00
     Direct TV                                                                                                                  2017
      Nonrmonty Creator's Name
                                                                                       When was the debt Incurred?
     P. 0. Box 5014
      Number            Street
                                                                                       As of the date you file, the claim Is: Check all that apply.
     Carol Stream, IL 60197
      City                                             State          ZIP Code         ❑     Contingent
                                                                                       ❑     Untiquidated
      Who Incurred the debt? Check one                                                 ❑     Disputed
      ❑      Debtor 1 on ly
      ❑      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim'
      ❑      Debtor 1 and Debtor 2 only
                                                                                       C;)   Student loans
      U. At least one of the debtors and another
                                                                                       ❑     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      ❑ Check if this claim Is for a community debt
                                                                                       ❑     Debts to pension or profit - sharing plans, and other similar debts
      Is the claim subject to offset?                                                  12    Other.   SpemyTelevision services
      ❑      No
      ❑      Yes




      I C Systems                                                                      Last 4 digits of account number 7282           & 3840                       $   1500.00
      Nonpoonty Creotors Name
                                                                                                                                1/20113-  -
                                                                                       When was the debt Incurred?
      P. O. Box 64378
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply
      St Paul, MN 55164
      City                                             Stele          ZIP Code         ❑     Contingent
                                                                                       ❑     Untiquidated
      Who incurred the debt? Check one                                                 ❑     Disputed
      ❑      Debtor 1 only
      ❑      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor I and Debtor 2 only
                                                                                       ❑     Student loans
      ❑      At least one of the debtors and another
                                                                                       ❑     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      ❑ Check if this claim is for a community debt
                                                                                       ❑     Debts to pension or profit-sharing plans. and other similar debts
      Is the claim subject to offset?                                                  53    Other.   SpecifyCollection      account
      U NO
      ❑      yes


                                                                                                                                 4346                              $179.00
                                                                                       Last 4 digits of account number
     Portneuf Medical Center
      N.-Ny.1y C-eritor's Name                                                                                                   1/2018
                                                                                       When was the debt Incurred?
     777 Hospital Way
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply .
      Pocatello, ID 83201
      Coy                                              State          ZIP Code         ❑     Contingent
                                                                                       ❑     Unto:masted
      Who incurred the debt? Check one                                                 ❑     Disputed
      ❑      Debtor I only
      ❑      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim.
      ❑      Debtor 1 and Debtor 2 only
                                                                                       ❑     Student loans
      ❑      At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                       ❑
                                                                                             you did not report as priority claims
      ❑ Check If this claim is for a community debt
                                                                                       ❑     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  p Other        smoyMediCal
      ❑ No
      ❑      Yes




Official Form 106E/F                                           Schedule EIF: Creditors Who Have Unsecured Claims                                                       page     of
Case 18-40887-JMM                                  Doc 32       Filed 11/02/18 Entered 11/02/18 16:51:37                                                       Desc Main
                                                               Document     Page 7 of 18


Debtor t
                   Michael                             Kelley                                                  Case   number view."
                    Rflt tit*toa      Midi* Name       Lent Nome




FM              Your NONPRIORITY Unsecured Claims                       —   Continuation Pails


Alter listing any entries on this pogo, number them beginning With 44, followed by AS, and so forth.

                                                                                        Last    ♦ digits of account number 9725
      Lift Credit L L C                                                                                                           1720-f8 —
      Noriptinty Ctetticies Nottzii
                                                                                        When was the debt Incurred?
      3214 N. University Ave
      Number               Street
                                                                                        As of the date you file, the claim Is: Check ell that apply.
      Provo, UT 84604
      City                                           Stale         ZIP C od             ❑       Contingent
                                                                                        •       Unliquidated
      Who Incurred the debt? Check one .                                                •       Disputed
       ❑ Debtor t only
              Pebtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              Debtor I and Debtor 2 only                                                ❑       Student loans
       L:1 At least one of the debtors and another                                      ❑   Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
       El Check if this clalm Is for a community
                                                                                        ❑ Debts to pension or profit-shoring plans, and other similar debts
       is the claim subject to offset?                                                  rja other spothl,Q ersonal loan

       Ll     No
       ❑ Yes




      Blue Frog Loans                                                                   Last 4 digits of account number           8745
       NCOMOtIty CteCnOr Ninit
                                                                                                                                  8/2018
                                                                                        When was the debt Incurred?
      P. O. Box 725
       Welber               Street
                                                                                        As of the dote you file, the claim Is: Check all that apply.
      Fenton, MO 63026
       City                                          Stet*              Cods            O       Contingent
                                                                                        •       Unliquidated
       Who Incurred the debt? Ch                                                        la Disputed
       ❑ Debtor I only
       ❑ Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
           1Debtor
           .       I and Debtor 2 only
                                                                                        O       Student Wens
       ❑ At least one of the debtors and another
                                                                                        •       Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as twenty dolma
       ❑ Check If this claim is for a community debt
                                                                                        ❑       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  Li Other. Specify        Personal loan
       O      No
              Yes


                                                                                                                                 7648                               $270.00
                                                                                        Last 4 digits of account number
       Chexcel
       Nooplietity Ctvicitors Ritmo                                                                                              1/2018
                                                                                        When was the debt incurred?
       914 Main St
       Number               Street
                                                                                        As of the date you file, the claim            Check all that apply .
       Rapid Coty, SD 57701
       City                                          State         ZIP Cale             El Contingent
                                                                                        •       Unliquidatad
       Who Incurred the debt? Check one .                                               El Disputed
       U Debtor I only
       ❑ Debtor 2 only                                                                  Type of      NONPRIORITY unsecured claim:
       El     Debtor I and Debtor 2 only
                                                                                        ❑       Student loans
       E/ At east one of the debtors and another                                                Obligaborts arising out of a separation agreement or divorce that
                                                                                                you dkl not report as priority claims
       ❑ Check If this claim Is fors community debt
                                                                                            •   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                      lit Other. S p,0,Collection          account
       LI     No
       ❑ yes




Official Form 106EJF                                         Schedule                       o Have Unsecured Claims                                                 Page
 Case 18-40887-JMM                                             Doc 32          Filed 11/02/18 Entered 11/02/18 16:51:37                                            Desc Main
                                                                              Document     Page 8 of 18


Debtor I          Michael                                          Kelley                                          Case number tireir,)
                   Ftst Nmrest                                     Lse Name

                 Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number thorn beginning w                            4,4, followed by 4.5, and so forth.                                         Totel claim



                                                                                                 Last 4 digits of account number 8739                                   $   515.00
     Mountain View Hospital                                                                                                          172'018 -
      Nononanry Creators Name
                                                                                                 When was the debt incurred?
     2325 Coronado St
      Number             Street
                                                                                                 As of the date you file, the claim is:    Check all that apply
     Idaho Falls, ID 83404
      City                                                      State         ZIP Code           ❑ Contingent
                                                                                                 ❑ Unliquidated
      Who incurred the             debt?   Check one   .
                                                                                                 ❑ Disputed
      ❑       Debtor 1 only
      ❑       Debtor 2 ant),                                                                     Type of NONPRIORITY unsecured claim:
      ❑       Debtor I and Debtor 2 only                                                         ❑ Student loans
      ❑       At least one of the debtorS and another                                            ❑ Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
      ❑       Check if this claim Is for a community debt
                                                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                            a Other. Specify Medical
      ❑ No
      ❑ Yes




      Bingham Memorial Hospital                                                                  Last 4 digits of account number     7282 & 3840                        $ 592.00
      Norsvionty Creators Nan*
                                                                                                                                      1/2078
      98 Poplar St                                                                               When was the debt Incurred?

      Number              Street
                                                                                                 As of the date you file, the claim Is:    Check all that apply.
      Blackfoot, ID 83221
      City                                                      State          ZIP Code          ❑ Contingent
                                                                                                 ❑ Unliquidated
      Who incurred the debt? Check one                     .
                                                                                                 ❑ Disputed
       ❑      Debtor 1 only
       ❑      Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 and Debtor 2 only                                                         ❑ Student loans
       ❑      At least one of the debtors and another                                            ❑ Obligations arlatrig out of a Separation agreement or dnrorce that
                                                                                                   you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                                                 ❑ Debts to pension or profitshartng plans, and other similar debts
       Is the claim subject to offset?                                                           3 Other. Specify Medical
       ❑ No
       1-.3 Yes


                                                                                                                                      9426                              $2390.00
                                                                                                 Last 4 digits of account number
      Adventure Orthodontics
       Nanp,..ty cieoliors Name                                                                                                       1/2018
                                                                                                 When was the debt incurred?
       1943 Madison Ave
       Number             Street
                                                                                                  As of the date you file, the claim is:   Check all that apply.
       Idaho Falls, ID 83404
       City                                                      Slate         ZIP Code           ❑   Contingent
                                                                                                  ❑   Unliquidated
       Who incurred          the   debt? Check one .                                              ❑ Disputed
       ❑      Debtor 1 only
       ❑      Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim -
       ❑      Debtor 1 and Debtor 2 only                                                          C.,1 Studentloans
       ❑      At least one of the debtors and another                                             ❑ Obligations arising out of a separation agreement or divorce that
                                                                                                      you did not report as priority claims
       ❑ Check It this claim is for a community debt
                                                                                                  ❑ Debts to pension or prontsharirt9 plans, and other Similar debts
       Is the claim subject to offset?                                                            al Other_ Spectfy Dental services
       ❑ No
       ❑ Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page     of
Case 18-40887-JMM                              Doc 32                Filed 11/02/18 Entered 11/02/18 16:51:37                                             Desc Main
                                                                    Document     Page 9 of 18


                  Michael
                   ichael                                 Kelley                                            Case number Wow%
                   First N.ms     WO. Nor,.              L.1.1   Nam.




 Part 2:          Your NONPRIORITY Unsecured Claims — Continuation Page


                                                                                                                                                                 Total claim
 After listing any entries on this page, number them beginning wit ► 4.4, followed by 4.6, and so forth.



                                                                                       Last 4 digits of account number 0001—                                     5 1000.00
      Verizon Wireless
      Norenonty Cradtor s Nara
                                                                                       When was the debt incurred?            1/2018
      500 Technology Drive
      Number             Street                                                                                                             that apply.
                                                                                       As of the date you file, the claim is: Check
      Weldon Springs, MO 63304
      Cry                                              State            ZIP Code       ❑     Contingent
                                                                                       ❑     Unliquidaied
      Who incurred the debt? Check one                                                 ❑     Disputed
      ❑      Debtor 1 only
      ❑      Debtor 2 on ty                                                            Type of NONPRIORITY unsecured claim:
      ❑      Debtor 1 and Debtor 2 only                                                ❑     Student loans
      ❑ At least one of the debtors and another                                        1:1 Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      ❑ Check if this claim is for a community debt
                                                                                       ❑     Debts to pension or profit-sharing plans, and other invite debts
      Is the claim subject to offset?                                                  3 Other.     specfryTelephone services
      ❑ No
      ❑ Yes




                                                                                       Last 4 digits of account number 2401                                      $ 1167.00
      Farm Bureau Insurance
      Norpanty Credtor s Name
                                                                                                                               1-720113 -
                                                                                       When was the debt Incurred?
      P. 0. Box 4848
      Number             Street
                                                                                       As of the date you file, the claim Is: Check all that apply .
      Pocatello, ID 83205
      City                                             State            ZIP Code       CZI Contingent
                                                                                             UnlIquidated
      Who Incurred the debt? Check one .                                               ❑     Disputed
      ❑ Debtor I only
      ❑ Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      ❑      Debtor 1 and Debtor 2 only
                                                                                       ❑     Student loans
      ❑ At least one of the debtors and another
                                                                                       ❑     Obligations arising out of • separation agreement or divorce that
                                                                                             you did not report as priority claims
      ❑ Check if this claim is for a community debt
                                                                                       ❑     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                        other . specify Insurance
      ❑      No
      ❑      Yes



    1 U S Department                                                                   Last 4 digits of account number
                                                                                                                              4627                               5 778.00

      Nonpnonty Creates Nara                                                                                                  1/2018
                                                                                       When was the debt incurred?
      P. 0. Box 830794
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply
      Birmingham, AL 35283
      City                                             Stale            ZIP Coat       ❑     Contingent
                                                                                       ❑     Unliquidated
      Who incurred the debt? Check one                                                 ❑     Disputed
      ❑ Debtor t only
      ❑      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      ❑      Debtor I and Debtor 2 only
                                                                                        '-   Student loans
      ❑      At least one of the debtors and another
                                                                                       ❑     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      1.3 Check If this claim Is for a community debt
                                                                                       ❑     Debts to pension or profit-sharing plans, and other Similar debts
      is the claim subject to offset?                                                  ci    Other, Specify Utilities
      ❑ No
      ❑ Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                 pagEt_01
 Case 18-40887-JMM                                    Doc 32                Filed 11/02/18 Entered 11/02/18 16:51:37                                            Desc Main
                                                                          Document      Page 10 of 18


Debtor   .,          Michael                                 Kelley                                             Case number yik, 7v,
                      Fat Name       ...410** too,*                Name



Part 2:              Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

                                                                                                                                  6177                              700.00
                                                                                           Last 4 digits of account number
         Idaho Power                                                                                                                                                $
     Nonpnonty Crecitor'S ham                                                                                                     1/2018
                                                                                           When was the debt incurred?
         P. 0. Box 70
         Number           Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         Boise, ID 83707
     City                                                  Stale           2in Code        ❑    Contingent
                                                                                           ❑    Unliquiciated
         Who incurred the debt? Check one                                                  ❑    Disputed
         ❑      Debtor I only
         ❑      Debtor 2 only                                                              Type of NONPRIORITY unsecured Claim:
         ❑      Debtor I and Debtor 2 only
                                                                                           ❑    Student loans
         ❑      At least one of the debtors anti another                                   ❑    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
         ❑ Check if this claim is for a community debt
                                                                                           ❑    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                   (5d Other, SpecifyUtlKies
         ❑      No
         ❑ Yes




                                                                                           Last 4 digits of account number
         Nonpnonty Creator's Name
                                                                                           When was the debt incurred?

         Number            Street
                                                                                           As of the data you filo, the claim Is: Check all Mat apply

         City                                              State           ZIP   Code      ❑    Contingent
                                                                                           ❑    Unliquidated
         Who incurred the debt? Check one .                                                ❑    Disputed
         ❑ Debtor I only
         ❑      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         ❑      Debtor I and Debtor 2 only
                                                                                           ❑    Student loans
         ❑      At least one of the debtors and another
                                                                                           ❑    Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
         ❑ Check if this claim Is for a community debt
                                                                                           ❑    Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                   (23 Other, Specify
         ❑      No
         ❑      Yes



                                                                                           Last 4 digits of account number
         Nomnonty Creators hams
                                                                                           When was the debt Incurred?

         Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply .

         City                                              Slate           ZIP Code         ❑   Contingent
                                                                                           ❑    Unliquidated
         Who Incurred the debt? Check one                                                   ❑   Disputed
         ❑      Debtor 4 only
         ❑      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
         ❑      Debtor i and Debtor 2 only
                                                                                            ❑   Student loans
         ❑      At least one of the debtors and another
                                                                                            ❑   Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
         ❑ Check if this claim Is for a community debt
                                                                                            ❑   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                    •   Other, Specify

         ❑      No
         ❑      Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                    page _ of
 Case 18-40887-JMM                            Doc 32           Filed 11/02/18 Entered 11/02/18 16:51:37                                       Desc Main
                                                             Document      Page 11 of 18


Debtor 1         Michael                               Kelley                                      Cale number (
                 Feel Name      10.41e Name            Lul Name




                List Others to Be Notified About a Debt That You Already Listed

    Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts I or 2, list the
    additional credit ors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Financial Corporation Of America                                       On which entry In Part 1 or Part 2 did you list the original creditor?
      Name
      1215 Research Blvd Ste 100                                             Line       of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                                               4346
                                                                             Last 4 digits of account number
      Austin, TX 78759
      Gay                                     State               ZIP Cie


                                                                             On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                             Line       of (Check one):   ❑   Part 1: Creditors with Priority Unsecured Claims
      Number          Stre et
                                                                                                          ❑   Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number
      City                                    Sire                ZIP Code


                                                                             On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                             Line        of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
      Ni mbef         Street                                                                              O   Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims


                                                                             Last 4 digits of account number
                                               State              ZIP Code

                                                                             On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                             Line        of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                              ❑   Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims


                                                                             Last 4 digits of account number
      City                                    Slate               ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                             Line        of (Check one)   ❑   Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
                                                                                                          t
                                                                             Claims

                                                                             Last 4 digits of account number,
      City                                    Stole               ZIP Code

                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?


                                                                             Line        of {Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                          Cal Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number
           ty                                 State               ZIP Code


                                                                             On which entry In Part 1 or Part 2 did you list the original creditor?
      Name


                                                                             Line o of (Check one); ❑ Part 1: Creditors with Priority Unsecured Claims
      Nurrber         Street
                                                                                                          CR Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims


      City                                    State               ZIP Code   Last 4 digits of account number ___


Official Form 1O6EJF                                    Schedule E/F: Creditors Who Have Unsecured Claims                                             page of
Case 18-40887-JMM                          Doc 32           Filed 11/02/18 Entered 11/02/18 16:51:37                              Desc Main
                                                          Document      Page 12 of 18


Debtor 1        Michael                          Kelley                                      Case number
               Fri   Same      SSW. hams          Lail Now




            Add the Amounts for Each Type of Unsecured Claim


    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C, § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                62 Domestic support obligations                                 6a.    $ 0.00
Total claims
from Part 1 6b. Taxes and certain other debts you owe the
                 government                                                     6b         0.00

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.    $ 0.00

                6d, Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d    +$ 0.00




                6e. Total. Add lines 6a through 6d.                             fie
                                                                                       $   0.00


                                                                                       Total claim


                6f. Student loans                                               6f.     3 0.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                                                                                        $ 0.00
                 claims                                                         6g

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h,    r 0.00


                61, Other. Add all other nonpriority unsecured claims.
                       Write that amount here                                           $ 20903.00


                 6j, Total. Add lines 6f through 6i.                            6j.
                                                                                        $ 20903.00




Official Form 106E/F                                   Schedule ELF: Creditors Who Have Unsecured Claims                                    page ___ of
      Case 18-40887-JMM                       Doc 32             Filed 11/02/18 Entered 11/02/18 16:51:37                                        Desc Main
                                                               Document      Page 13 of 18


 Fill in this information to identify your case:


 Debtor 1       Michael                                                   Kelley
                 First Name                 Middle Name                   Last Name

 Debtor 2         Cami                                                    Kelley
 (Spouse, if     First Name                 Middle Name                   Last Name


 United States Bankruptcy Court for the:                  District of

 Case number                                                                                                 Check if this is:
 (If known)
                                                                                                             0 An amended filing
                                                                                                             ❑ A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                               MM / DD / YYYY

Schedule I: Your Income                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Describe Employment


1. Fill in your employment
   information.                                                                 Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional           Employment status                        Employed                                 if Employed
    employers.                                                               ❑ Not employed                                  ❑    Not employed

    Include part-time, seasonal, or
    self-employed work.
                                           Occupation                       Loco Motive Engineer                           School District 25
    Occupation may include student
    or homemaker, if it applies.
                                           Employer's name                  Union Pacific Railroad Co                      Para Professional

                                           Employer's address               300 S. Harrison
                                                                             Number Street                                 Number Street




                                                                            Pocatello               ID        83204        Pocatello              ID       83201
                                                                             City              State ZIP Code              City                   State ZIP Code

                                           How long employed there?



 Part 2:       Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.                2.    $     7,630.00                   357.08

 3. Estimate and list monthly overtime pay.                                                    3.   +$                     +$


 4. Calculate gross income. Add line 2 + line 3.                                               4     $     7,630.00                   357.08




Official Form 1061                                                      Schedule I: Your Income                                                         page 1
    Case 18-40887-JMM                      Doc 32          Filed 11/02/18 Entered 11/02/18 16:51:37                                       Desc Main
                                                         Document      Page 14 of 18

Debtor 1        Michael                                          Kelley                          Case number c,   nown)
                First Name   Middle Name         Last Name



                                                                                             For Debtor 1                 For Debtor 2 or
                                                                                                                          non-filing spouse

    Copy line 4 here                                                               4 4.      $    7,630.00                  $      357.08

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                               5a.     $   1,692.00                   $        19.52
     5b. Mandatory contributions for retirement plans                                5b.     $         930.00               $
     5c. Voluntary contributions for retirement plans                                5c.     $                              $
     5d. Required repayments of retirement fund loans                                5d.     $                              $

     5e. Insurance                                                                   5e.     $         269.00               $
     5f. Domestic support obligations                                                5f.     $                              $

     5g. Union dues                                                                  5g.     $         104.00               $
     5h. Other deductions. Specify:                                                  5h. +$                               +$

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6.           $    2,995.00                  $        19.52

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.    $    4,635.00                          337.56

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                       8a.
     8b. Interest and dividends                                                      8b.     $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                      8c.
     8d. Unemployment compensation                                                   8d.     $
     8e. Social Security                                                             8e.     $

     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                8f.       $

     8g. Pension or retirement income                                                8g.     $

     8h. Other monthly income. Specify:                                             8h. +$

 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.              9.


10.Calculate monthly income. Add line 7 + line 9.                                            $ 4,635.00                             337.56          $      4,972.56
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.          10.

11. State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                                  11.   $

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                       12.
                                                                                                                                                           4,972.56
                                                                                                                                                    Combined
                                                                                                                                                    monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      121 No.
      ❑    Yes. Explain:


Official Form 1061                                              Schedule I: Your Income                                                                 page 2
              Case 18-40887-JMM                        Doc 32            Filed 11/02/18 Entered 11/02/18 16:51:37                                      Desc Main
                                                                       Document      Page 15 of 18


         Fill in this information to identify your case:

         Debtor 1              Michael                                          Kelley
                               First Name           Middle Name                 Last Name                      Check if this is:
         Debtor 2              Cami                                             Kelley                         VI An amended filing
         (Spouse, if filing)   First Name           Middle Name                 Last Name

                                                                                                               ❑ A supplement showing postpetition chapter 13
         United States Bankruptcy Court for the:                  District of
                                                                                                                 expenses as of the following date:
         Case number                                                                                               MM / DD / YYYY
         (If known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

     Part 1:                   Describe Your Household

 1. Is this a joint case?

          ❑     No. Go to line 2.
          O Yes. Does Debtor 2 live in a separate household?

                        O      No
                        ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2        Do you have dependents?                  1:1 No
                                                                                            Dependent's relationship to              Dependent's         Does dependent live
          Do not list Debtor 1 and                 21 Yes. Fill out this information for    Debtor 1 or Debtor 2                     age                 with you?
          Debtor 2.                                   each dependent
                                                                                                                                                         ❑    No
          Do not state the dependents'                                                      Son                                      13
          names.                                                                                                                                         66 Yes

                                                                                                                                                         ❑    No
                                                                                            Daughter                                 6
                                                                                                                                                         0 Yes

                                                                                                                                                         ❑    No
                                                                                                                                                         ❑ Yes

                                                                                                                                                         ❑    No
                                                                                                                                                         ❑ Yes

                                                                                                                                                         ❑    No
                                                                                                                                                         ❑ Yes

 3. Do your expenses Include
                                                       No
    expenses of people other than
          yourself and your dependents?            ❑   Yes


 Part 2:                Estimate Your Ongoing Monthly Expenses

     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
     Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule                        Your Income (Official Form 1061.)                                    Your expenses

     4      The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                              971.00
            any rent for the ground or lot.                                                                                    4.

            If not included in line 4:
            4a.     Real estate taxes                                                                                          4a.        $

            4b.     Property, homeowner's, or renter's insurance                                                               40         $

            4c.     Home maintenance, repair, and upkeep expenses                                                              4c.        $                   125.00
            4d.     Homeowner's association or condominium dues                                                                4d.        $


Official Form 106J                                                        Schedule J: Your Expenses                                                                page 1
      Case 18-40887-JMM                        Doc 32        Filed 11/02/18 Entered 11/02/18 16:51:37                                Desc Main
                                                           Document      Page 16 of 18

 Debtor 1          Michael                                           Kelley                Case number   known)
                   First Name   Middle Name        Last Name




                                                                                                                             Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6.   Utilities:
      6a.   Electricity, heat, natural gas                                                                        6a.    $                   240.00
      6b.   Water, sewer, garbage collection                                                                      6b.    $                    42.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                        6c.    $                   200.00
      6d Other. Specify:                                                                                          6d.    $

 7.   Food and housekeeping supplies                                                                              7.     $                   900.00
 8. Childcare and children's education costs

 9.   Clothing, laundry, and dry cleaning                                                                         9.     $                   200.00
10.   Personal care products and services                                                                         10.    $                   107.00
11.   Medical and dental expenses                                                                                 11.                        250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                         $                   215.00
      Do not include car payments.                                                                                12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.    $                   130.00
14.   Charitable contributions and religious donations                                                            14.    $

15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                         15a.   $

      15b. Health insurance                                                                                       15b.   $

      15c. Vehicle insurance                                                                                      15c.   $                   197.67
      15d. Other insurance. Specify:                                                                              15d.   $


16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.


17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                             17a.   $

      17b. Car payments for Vehicle 2                                                                             17b.   $

      17c. Other. Specify:                                                                                        17c.   $

      17d. Other. Specify:                                                                                        17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.
                                                                                                                         $

19. Other payments you make to support others who do not live with you.

      Specify:                                                                                                     19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                            20a.   $

      20b. Real estate taxes                                                                                      20b.   $

      20c. Property, homeowner's, or renter's insurance                                                           20c.   $

      20d. Maintenance, repair, and upkeep expenses                                                               20d.   $

      20e. Homeowner's association or condominium dues                                                            20e    $



Official Form 106J                                             Schedule J: Your Expenses                                                       page 2
         Case 18-40887-JMM                     Doc 32           Filed 11/02/18 Entered 11/02/18 16:51:37                              Desc Main
                                                              Document      Page 17 of 18


Debtor 1         Michael                                            Kelley                      Case number   (11 known)
                 First Name    Middle Name        Last Name




21.    Other. Specify:                                                                                                     21.   +$



22     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                    22a.            3,577.67

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                            22b.                0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                 22c.            3,577.67



23. Calculate your monthly net income.
                                                                                                                                       4,972.56
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                              23a .

      23b.   Copy your monthly expenses from line 22c above.                                                           23b.       $    3,577.67

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                       1,394.89
             The result is your monthly net income.                                                                    23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      621 No.
      1:1 Yes.     Explain here:




Official Form 106J                                             Schedule J: Your Expenses                                                   page 3
            Case 18-40887-JMM                          Doc 32      Filed 11/02/18 Entered 11/02/18 16:51:37                                               Desc Main
                                                                 Document      Page 18 of 18


Fill in this information to identify your case:


Debtor 1                Michael                                         Kelley
                        First Name               Middle Name            Last Name


Debtor 2                 Cami                                           Kelley
(Spouse, if filing) First Name                   Middle Name            Last Name


United States Bankruptcy Court for the:      District of Idaho
Case number
 (If known)
                                                                                                                                                        if   Check if this is an
                                                                                                                                                             amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                   12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                         Sign Below



           Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                   No
           1=1 Yes.         Name of person                                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and

                                                                                                    Signature (Official Form 119).




           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.




              /s/ Michael Kelley                                            /s/ Cami Kelley
              Signature of Debtor 1                                         Signature of Debtor 2



              Date
                     11/02/2018                                             Date
                                                                                    11/02/2018
                     MM /    DD / YYYY                                              MM / DD / YYYY
  11.01111•MINNI




  Official Form 106Dec                                           Declaration About an Individual Debtor's Schedules
